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 4

 5   Attorney for Defendant
     ASIACOM AMERICAS, INC.
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 7
 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11
12   JINJU ZHANG, an individual,                     Case No. 5:23-cv-5818-VC
13                  Plaintiff,
                                                     DECLARATION OF MICHAEL T.
14   v.                                              BEUSELINCK IN SUPPORT OF
                                                     DEFENDANT ASIACOM AMERICAS,
15   BELIN YUAN, an individual; HONG                 INC.'S MOTION TO DISMISS FOR
     LIN, an individual; CAMIWELL, INC., a           FAILURE TO STATE A CLAIM
16   California corporation; CAMIWELL,
     INC. (CANADA), a Canadian
17   corporation; BEIJING ASIACOM                        Time: 10:00 a.m.
     TECHNOLOGY CO., LTD., a Chinese                     Date: August 15, 2024
18   corporation; ASIACOM AMERICAS,                      Judge: Hon. Vince Chhabria
     INC., a Virginia corporation; BANK OF               Courtroom:   4—17th Floor
19   AMERICA CORPORATION, a National
     Association; and DOES 1 to 20, inclusive,
20
                    Defendants.
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                                                    1                         Case No. 5:23-cv-5818-VC
            DECLARATION OF MICHAEL T. BEUSELINCK IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
       Case 3:23-cv-05818-VC Document 83-1 Filed 06/12/24 Page 2 of 2



 1          I, Michael T. Beuselinck, declare,
 2          1.      I am an attorney at law and duly licensed to practice before all courts of the State

 3   of California. I am an attorney with the office of Michael Beuselinck P.C., attorneys of record for

 4   Asiacom Americas, Inc. (“Asiacom US”). I am the custodian of my client’s files in this matter. I

 5   have personal knowledge of the following facts, and could testify competently to them.

 6          2.      Attached hereto as Exhibit 1 is a true and correct copy of the Complaint for Direct

 7   and Derivative Claims for: 1. Breach of Fiduciary Duty; 2. Unfair Competition; 3. Violation of

 8   Corporations Code §§ 1601 and 1062; and 4. Accounting that was filed by Plaintiff on July 20,

 9   2020, in the Superior Court of the State of California for the County of Santa Clara, Case No.

10   20CV368535.

11          3.      I declare under penalty of perjury under the laws of the State of California that the

12   above facts are true and correct.

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            Dated: June 12, 2024                          /s/ Michael T. Beuselinck
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                                                      2                            Case No. 5:23-cv-5818-CRB
           DECLARATION OF MICHAEL T. BEUSELINCK IN SUPPORT OF DEFENDANT’S MOTION TO DISMISS
